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Marc J. Randazza (pro hac vice)
RANDAZZA LEGAL GROUP, PLLC
2764 Lake Sahara Drive, Suite 109
Las Vegas, Nevada 89117
Tel: (702) 420-2001
ecf@randazza.com
Jay M. Wolman (pro hac vice)
RANDAZZA LEGAL GROUP, PLLC
100 Pearl Street, 14th Floor
Hartford, Connecticut 06103
Tel: (702) 420-2001
ecf@randazza.com
Mathew M. Stevenson, St. Bar # 6876
STEVENSON LAW OFFICE
1120 Kensington, Suite B
Missoula, MT 59801
Tel: (406) 721-7000
matstevenson@bigskylegal.com

Attorneys for Defendant,
Andrew Anglin

                    UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                            MISSOULA DIVISION


                                      )
TANYA GERSH,                          )    Case No. 9:17-cv-50-DLC-JCL
                                      )
             Plaintiff,               )
                                      )          NOTICE OF
       vs.
                                      )   SUPPLEMENTAL AUTHORITY
ANDREW ANGLIN,                        )
                                      )
             Defendant.               )
                                      )
                                      )
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                NOTICE OF SUPPLEMENTAL AUTHORITY

      Pending before this Court are Defendant’s Objections to the Findings and

Recommendations of the Magistrate Judge (Dkt. No. 91) as to his Motion to Dismiss

(Dkt. No. 31). In the Objections and Motion, Defendant argues that he cannot be

held liable for any of the statements of third parties because such statements are

protected speech and Defendant could not provide any “substantial assistance” to

any third parties. (See, e.g., Dkt. No. 91 at pp. 12-17.) As noted therein, Defendant
explicitly denounced and discouraged any unlawful behavior by third parties. (See

Dkt. No. 32 at 28; Dkt. No. 32-5 at 4; Dkt. No. 32-6 at 3; Dkt. No. 32-7 at 11; Dkt.

No. 32-8 at 9; Dkt. No. 91 at 12.)
      Yesterday, the U.S. Court of Appeals for the Sixth Circuit decided that then-

presidential candidate Donald Trump’s statements (at a campaign rally regarding

protesters), “get ‘em out of here,” followed by “don’t hurt ‘em,” did not give rise to

a plausible claim by allegedly injured protestors for relief in tort or for a claim for

incitement to riot under Kentucky law. See Nwanguma v. Trump, No. 17-6290, 2018

U.S. App. LEXIS 25686, *10 (6th Cir. Sept. 11, 2018) reversing Nwanguma v.
Trump, 273 F. Supp. 3d 719 (W.D. Ky. 2017). Specifically, it held:

      The notion that Trump’s direction to remove a handful of disruptive
      protestors from among hundreds or thousands in attendance could be
      deemed to implicitly incite a riot is simply not plausible – especially
      where any implication of incitement to riotous violence is explicitly
      negated by the accompanying words, “don’t hurt ‘em.” If words have
      meaning the admonition “don’t hurt ‘em” cannot be reasonably
      construed as an urging to “hurt ‘em.”
      ...

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      The suggestion that “don’t hurt ‘em” could reasonably be understood
      as encouraging violence poses a sheer possibility that “stops short of
      the line between possibility and plausibility of entitlement to relief.”
Id. at *9-10 (citations omitted) (emphasis added).            Like Candidate Trump,

Mr. Anglin made a similar denunciation of threats and violence.

      Furthermore, Defendant argued that, under the First Amendment, Defendant’s

speech does not constitute incitement to unlawful action, citing, inter alia,

Brandenburg v. Ohio, 395 U.S. 444 (1969). (See Dkt. No. 32 at 11, 29; Dkt. No. 91

at 2.) The Nwanguma court similarly found that Trump’s rally statements were

protected under the First Amendment and rejected the notion of implicit incitement,

concluding that “[t]he analysis employed in Brandenburg, Hess, Snyder, and Bible

Believers evidences an unmistakable and consistent focus on the actual words used

by the speaker in determining whether speech was protected.” Nwanguma, supra,

at *11-16, 20, 22-23. “[T]he subjective reaction of any particular listener cannot

dictate whether the speaker's words enjoy constitutional protection.” Id. at *21.

      Defendant hereby advises the Court by notice of supplemental authority

pursuant to Local Rule 7.4. The authority was not previously cited as the Sixth

Circuit’s decision had not yet issued. Though not binding on this Court, it is highly

persuasive authority on a dispositive issue, and the Court should dismiss the

Complaint accordingly.




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 Dated: September 12, 2018.     Respectfully submitted,
                                /s/ Marc J. Randazza
                                Marc J. Randazza (pro hac vice)
                                RANDAZZA LEGAL GROUP, PLLC
                                2764 Lake Sahara Drive, Suite 109
                                Las Vegas, Nevada 89117
                                /s/ Jay M. Wolman
                                Jay M. Wolman (pro hac vice)
                                RANDAZZA LEGAL GROUP, PLLC
                                100 Pearl Street, 14th Floor
                                Hartford, Connecticut 06103
                                /s/ Mathew M. Stevenson
                                Mathew M. Stevenson
                                STEVENSON LAW OFFICE
                                1120 Kensington, Suite B
                                Missoula, MT 59801
                                Attorneys for Defendant,
                                Andrew Anglin




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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on September 12, 2018, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I further certify

that a true and correct copy of the foregoing document being served via transmission

of Notices of Electronic Filing generated by CM/ECF.

                                       /s/ Marc J. Randazza
                                       Marc J. Randazza




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